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                  UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                               Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .

              MOTION TO RECONSIDER DENIAL OF ECF NO. 206

       In ECF No. 239, the Court denied my motion seeking a slight modification to the

protective order so that I can directly access highly sensitive materials related to my defense, so

that I can prepare trial exhibits. On page 13 of the Court’s order, the Court acknowledged that

the government did not oppose me using materials that are “directly relevant to Defendant,” but

it was not clear to me if the Court was allowing me direct access to those highly sensitive

materials that are directly relevant to me so that I can create defense exhibits. This is because on

page 14 of the Court’s order, the Court said I am not entitled to direct access of highly sensitive

materials, and that I “may review – but not download.”

       I need direct access to some of these files that the government has designated as highly

sensitive in order to synchronize them to other footage, and/or to zoom in on specific details, or

to slow the playback speed to make it easier for a jury to see specific details. Without such

access, I am unable to create crucial exhibits or adequately defend myself in Court. The standby

counsel the Court has appointed lacks the technical and subject matter expertise that I have to do

this. Therefore, I am respectfully asking the Court to clarify and reconsider the order denying

ECF No. 206, since without sufficient access, I will be deprived of the ability to defend myself.
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       I also think it may be possible that the Court is not fully aware of what I actually have

access to in ‘case specific’ discovery. While Section 11 of ECF No. 26 (the protective order),

excludes from the protective order anything that “pertains” to the defendant, I have still never

been given direct access to the Capitol CCTV clips pertaining directly to me that the government

provided in my case specific discovery. Furthermore, the government only provided 13 such

clips (from just 13 cameras) in my case specific discovery, but I have identified myself on more

than four times as many CCTV cameras.

       The clips the government did provide in case specific discovery also cut out crucial

exculpatory information. For instance, one clip is only 13 seconds long, and cuts out key details

pertaining directly to me. Some of the clips the government provides from the Senate Carriage

area cut out the full length of the scene and context of my actions and also cut out the context of

officers who will need to be cross-examined.

       Essentially, the government has withheld dozens of CCTV cameras from my case-

specific discovery that directly pertain to me and cut short most of the clips they produced. The

government has also told me in the past that I must rely on the CCTV in global discovery to

access the cameras that they didn’t provide directly in the case specific discovery.

       Since the Court’s order was not clear to me on whether I am allowed to possess this video

that pertains directly to me, I suspect the Court may presumed that I already have direct access to

the CCTV clips from my case specific discovery, and that those clips are comprehensive of
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everything that pertains to me. But this is not the case. Without CCTV from the global discovery,

I will be prevented from having crucial evidence that pertains directly to my case.1


Only a Handful of Cameras I Am Requesting are ‘Highly Sensitive’ and Not Yet Public

           As a general rule, the government has only designated interior Capitol CCTV cameras as

‘highly sensitive’ while exterior USCP cameras are designated as sensitive (which I am allowed

to possess). Additionally, Congress has already publicly released several of the ‘highly sensitive’

interior cameras on Rumble that pertain directly to my case.2 This leaves only nine3 highly

sensitive cameras that I am seeking direct access to for the creation of trial exhibits. They are:


           •   0104 – Supreme Court Stairs

           •   0114 – Senate Carriage Doors

           •   0117 – Senate Carriage Doors

           •   0179 – Memorial Door

           •   0402 – Crypt North

           •   0403 – Crypt South

           •   0960 – Rotunda North

           •   0964 – Statuary Hall West

           •   0966 – Statuary Hall East



1
 The government finally sent me the exhibits from my brother’s bench trial on April 30, 2024, however, the CCTV
exhibits they provided were lower resolution than the original high-definition CCTV. I have requested the
government send me copies in the original resolution files, since I will need to zoom in on important details.
The clips also cut out some key details at the beginning and end of the sequences.

2
    Section 11c of the protective order allows me to possess materials obtained by means other than discovery.

3
 When I filed ECF No. 206 in January, there were far more cameras I needed that Congress had not yet published.
Several were published shortly after the Court denied ECF No. 206.
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         There is a high likelihood that Congress will make these nine CCTV cameras public

sometime this year, but that may not come in time for me to prepare exhibits for my trial. With

this impending release by Congress in mind, it would be reasonable for the Court to balance

concerns for protecting discovery with my need to possess files to prepare for trial and allow me

to directly access to these files that pertain to me. Additionally, the government recently

provided me clips from six4 of these nine cameras for my brother’s trial, however, the copies

they provided me were degraded from the original high-definition resolution and cut out

contextual information from the beginning and end of the sequences.

         The 0114 and 0117 Senate Carriage Doors cameras are crucial to my defense, since they

show me being pushed into the Capitol, then attempting to exit the Capitol after being pushed in,

and they also show that I was not aware my flagpole had been inadvertently bumped into the

door by an officer. The 0179 camera shows the time of my peaceful, voluntary exit. The cameras

in the Crypt show me intentionally walking towards an exit voluntarily. And the cameras in the

Rotunda and Statuary Hall show me being entirely peaceful. All of these cameras contain

exculpatory evidence that I need to use in exhibits. For instance, without the ability for me to

synchronize different camera angles, and to zoom in on my flagpole, and slow the speed, the jury

will have greater difficulty determining the facts, which could affect the outcome of my trial.




4
  The government provided six reduced quality clips from cameras in the Senate Carriage area, the Crypt, Statuary
Hall, and the Supreme Court Stairs. I am seeking the full resolution footage for these same scenes with the clips cut
slightly longer so that I can go to trial with the full context of these sequences.
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          At a minimum, I need a few minutes of footage from these nine cameras. We discussed at

our September 1, 2022, status conference,5 that I would need this additional access in advance of

trial to create defense exhibits, and the government did not object to that (See Figure 1).




Figure 1: At our September 1, 2022, hearing, the government acknowledged that I would need direct access before trial to
“manipulate and handle exhibits,” and that they were willing to grant that access for a selection of videos. (Transcript P. 8)

Circumstances Have Changed Significantly Since the Court Issued Order No. 103

          In ECF No. 103, the Court denied my motion to modify the protective order to allow me

additional access to the Capitol CCTV (ECF No. 67), and the Court cited this order in justifying

denial of ECF No. 206 (See Order No. 239 at 14). However, the Court acknowledged in Order

No. 103 that the “good cause analysis” was complicated by the House of Representatives

providing access to Tucker Carlson, and that there was “considerable uncertainty as to whether

and how House leadership will make any future disclosures” (p. 5). The Court also rightly

recognized that the amount of access to the CCTV was a “dynamic situation” that was likely to

continue to “evolve” (p. 6). Ultimately, the Court denied me expanded access to the CCTV



5
 I originally requested the transcript for our 9/1/22 status conference in the spring of 2023, but the Court reporter
for that hearing never responded. I again requested this transcript earlier this year, and finally received an invoice
on February 14, 2024, but my standby was unable to obtain the transcript until just last week, April 25, 2024. Had I
received this transcript sooner, I would have reference it in ECF No. 206, which I now ask the Court to reconsider.
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because the Court believed that the circumstances had not yet evolved past restricted access

through closed terminals at a congressional office building in Washington.

        The House of Representatives is under new leadership since the Court issued Order No.

103, and Speaker Johnson has committed to releasing more than 40,000 hours of CCTV from

January 6.6 As of April 15, 2024, Representative Loudermilk estimates that more than half of

that total has been released, and that the “Oversight Subcommittee will continue to release the

remaining balance of footage online”.7 These cameras are being publicly posted to the internet,8

and I have already been working to obtain much of the evidence I need online, including some of

the evidence that the government failed to produce in discovery.

        The “dynamic situation” the Court foresaw in Order No. 103, has indeed evolved, but

there is no guarantee that all the CCTV cameras I need for exhibits will be published online in

time for my trial. For this reason, I ask the Court to revisit the “good cause analysis” it made in

Order No. 103, and to consider the shifting landscape of CCTV access. These nine cameras I’m

requesting will become public, the only question is when. I believe it is fairer to allow me access

to these files as soon as possible, since I am running short on time to prepare my defense. If these

nine cameras are published after my trial, the end result for this CCTV will be the same as if the

Court grants access now – it will become public. But the outcome of my case may be far

different if my access to crucial evidence continues to be restricted.




6
 See Speaker Johnson’s November 17, 2023 Press Release: https://www.speaker.gov/speaker-johnson-statement-
on-january-6-2021-u-s-capitol-security-tapes/ [Note: Congress abandoned plans to blur the footage they released].

7
 See Rep. Loudermilk’s April 15, 2024 Press Release: https://republicans-cha.house.gov/press-
releases?ID=DB3B8B38-A01F-4C9D-AE0D-66D7AC962FB8

8
 See the House Administration Committee’s Rumble Page for January 6 CCTV that is now public:
https://rumble.com/c/CHASubcommitteeOnOversightRepublicanMajority/playlists
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       Since we have a short pretrial schedule, and by the time this motion is decided, I will

already be hard pressed to finish preparing exhibits by the Joint Pretrial Statement deadline the

Court has set for June 28, 2024, I appreciate the Court’s speedy reconsideration of this matter!

       Respectfully submitted to the Court,

                                                      By: William Pope

                                                          /s/


                                                      William Pope
                                                      Pro Se Officer of the Court
                                                      Topeka, Kansas




                                        Certificate of Service
     I certify a copy of this was filed electronically for all parties of record on May 3, 2024.
                                                  /s/
                                  William Alexander Pope, Pro Se
